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UNITED STATES DISTRICT COURT
DISTRICT OF PUERTO RICO

 

In re FIDDLER GONZALEZ &
RODRIGUEZ, P.S.C.

Debtor.
NOREEN WISCOVITCH-RENTAS, as BANKRUPTCY
No. 17-03403-MCF
Chapter 7 Trustee
ADVERSARY
Plaintiff, No. 19-00327-EAG
CIVIL ACTION
NO. 19-01651-WGY

Vv.

LIBERTY MUTUAL INSURANCE COMPANY,
AON RISK SOLUTIONS OF PUERTO RICO,
INC., JOSE ACOSTA-GRUBB, JOSE
JULIAN ALVAREZ, CHARLES A.

BIMBELA, PEDRO MANZANO-YATES,
EDUARDO NEGRON-NAVAS, RICARDO L.
ORTIZ-COLON, JOSE A. SILVA-COFRESI,
JOSE A. SOSA-LLORENS, VIVIAN REYES,
CONJUGAL PARTNERSHIP ACOSTA-REYES,
MARY DEAL, CONJUGAL PARTNERSHIP
ALVAREZ-DEAL, WALESKA MORA-ALDEBOL,
CONJUGAL PARTNERSHIP
BIMBELA-ALDEBOL, CARMEN JUARBE,
CONJUGAL PARTNERSHIP
MANZANO-JUARBE, EMILY AREAN,
CONJUGAL PARTNERSHIP AREAN-NEGRON,
MARIA SANTOS, CONJUGAL PARTNERSHIP
SANTOS-ORTIZ, JUAN C. PEREZ-OTERO,
JANE DOE, CONJUGAL PARTNERSHIP
PEREZ-DOE, JANET NAVARRETE,
CONJUGAL PARTNERSHIP
SILVA-NAVARETTE, DIANA LOZANO,
CONJUGAL PARTNERSHIP SOSA-LOZANO,
and MARIA I. SANTOS-RIVERA

Defendants.

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YOUNG, D.J.* November 21, 2019

 

* Of the District of Massachusetts, sitting by designation.
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ORDER

These motions to dismiss arise from the bankruptcy
proceeding of the law firm Fiddler, Gonzalez & Rodriguez, P.S.C
(“Fiddler”). On May 16, 2017, Fiddler filed a petition for
relief under Chapter 7 of the Bankruptcy Code in the United
States Bankruptcy Court for the District of Puerto Rico,
docketed as Bankr. No. 17-03403-MCF. Almost two years later, on
May 14, 2019, Fiddler’s Chapter 7 Trustee, Noreen Wiscovitch-
Rentas (“the Trustee”), filed an adversary complaint in the
Bankruptcy Court, docketed as Adv. No. 19-00327-EAG.

In her complaint, the Trustee asserts claims against nine
of Fiddler’s former directors and officers (the “D&O
Defendants”) for breach of fiduciary duties, avoidable
transfers, recission of transfers, and objections to their
claims as creditors. Ch. 7 Trustee’s Adv. Compl. Damages (“Adv.
Comp1.”) GW 202-278, ECF No. 1-3.1 The Trustee brings additional
claims against Fiddler’s insurance company, Liberty Mutual
Insurance Company (“Liberty”), for violation of the automatic
stay, breach of contract, fraud, and breach of duty of good

faith and fair dealing with respect to a disputed insurance

 

1 The nine D&O Defendants named in the complaint are José
Acosta Grubb, José Julian Alvarez, Charles A. Bimbela, Pedro J.
Manzano Yates, Eduardo Negrén Navas, Ricardo L. Ortiz-Colén,
Juan C. Pérez-Otero, José A. Silva Cofresi, and José A. Sosa-
Lloréns. See Adv. Compl. 3 n.2.

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policy for director-and-officer liability. Adv. Compl. @7 138-
173.2 After withdrawing the reference to the Bankruptcy Court,
this Court heard argument on October 28, 2019 and denied in part
the motions to dismiss of several D&O Defendants. Minute Order,
ECF No. 67. The Court subsequently denied several motions to
compel arbitration. See Memorandum & Order, ECF No. 95.3

In this Order, the Court DENIES the following motions to
dismiss, two by D&O Defendants and one by Liberty, which were
not yet ripe during the October 28 hearing: Mot. Dismiss Adv.
Compl. Failure State Claim Mem. L. Supp. (“Acosta Grubb’s
Mot.”), ECF No. 58; Mot. Dismiss Adv. Compl. Failure State Claim
Mem. L. Supp. (“Negrén Navas’ Mot.”), ECF No. 59; and Mot.
Dismiss Count 1 (“Liberty’s Mot.”), ECF No. 61.

I. The D&O Defendants’ Motions to Dismiss

The two pending motions to dismiss of the D&O Defendants,
ECF Nos. 58, 59, raise substantially the same arguments as
offered in the previous motions to dismiss that were already
rejected by this Court. See ECF Nos. 64-37, 64-70, 64-71, 64-

72, 64-74, 64-78, 64-81. Specifically, the two pending motions

 

2 The Trustee also brings claims against Fiddler’s insurance
broker, Aon Risk Solutions of Puerto Rico, Inc., arising from
the same disputed insurance policy. But those claims are not at
issue in these motions.

3 The factual allegations against the D&O Defendants, drawn
from the complaint, are summarized in the Court’s Memorandum &
Order 2-4, ECF No. 95.

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contend that the Trustee’s complaint lacks sufficient facts
supporting any of the claims as to Eduardo Negron Navas and José
Acosta Grubb. Acosta Grubb’s Mot. 20-28; Negrdén Navas’ Mot. 20-
28. Both motions argue, for example, that the Trustee’s
allegations cannot overcome Puerto Rico’s business judgment
rule, which shields directors and officers acting in good faith
from liability in the absence of “gross negligence.” Acosta
Grubb’s Mot. 21-22 (citing P.R. Laws Ann. tit. 14 § 3563);
Negrén Navas’ Mot. 21-22 (same).

The Trustee, however, has sufficiently alleged both bad
faith and gross negligence. See Adv. Compl. (9 227-230, 232-
246; Trustee’s Omnibus Resp. Opp’n Defs.’ Mots. Dismiss Adv.
Compl. 5-8. The business judgment rule poses a formidable
barrier, to be sure, but in ruling on a motion to dismiss the
Court must take all well-pled facts in the complaint as true and
view them in the light most favorable to the Trustee. Bell Atl.
Corp. v. Twombly, 550 U.S. 544, 555 (2007); Villeneuve v. Avon
Products, Inc., 919 F.3d 40, 49 (1st Cir. 2019). Here, the
Trustee states a claim of gross negligence by “alleg[ing] facts
questioning ‘whether [the directors and officers have] acted in
a deliberate and knowledgeable way in identifying and exploring
alternatives,’” W Holding Co., Inc. v. Chartis Ins. Company-

Puerto Rico, 904 F. Supp. 2d 169, 177 (D.P.R. 2012) (Gelpi, J.)

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(quoting Citron v. Fairchild Camera & Instrument Corp., 569 A.2d
53, 66 (Del. 1989)), and she also alleges bad faith conduct.
Furthermore, the Trustee has sufficiently alleged facts to
support her claims for avoidable transfers, Adv. Compl. Q@ 250-
253, 256-259; objection to claims and equitable subordination,
id. GI] 270-276; and relief against the conjugal partners and
partnerships in accordance with Puerto Rican law, Adv. Compl. 11

277-278; Kodak Ams., Ltd. v. Caribbean Photo & Imaging Co., 242

 

F. Supp. 2d 117, 120 (D.P.R. 2002) (Fuste, J.).

Accordingly, the motions to dismiss of the D&O Defendants,
ECF Nos. 58, 59, are DENIED.

II. Liberty’s Motion to Dismiss Count 1

The Trustee’s various claims against Liberty arise from a
disputed contract for a $7,000,000 insurance policy (“the
Policy”) issued by Liberty to Fiddler covering director-and-
officer liability. Adv. Compl. 94 45-59; Liberty’s Mot., Ex. 1,
Executive Advantage Policy (“the Policy”), ECF No. 61-1. The
Policy insured (1) Fiddler for damages incurred because of the
D&O Defendants’ wrongful acts, and (2) the D&O Defendants for
defense costs. Adv. Compl. 7 46.

The complaint alleges that the Trustee and the D&O
Defendants timely filed claims against the Policy, but Liberty
denied the claims due to purported exceptions to the Policy’s

coverage related to insolvency (the “Insolvency Exceptions”).

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Id. 41 47-49. The Trustee alleges that these Insolvency
Exceptions were not part of the contract between Fiddler and
Liberty, and in fact Liberty fraudulently added them into the
Policy after the bankruptcy petition in order to escape its
contractual obligations. Id. 91 50-58. With these allegations,
the Trustee has brought claims against Liberty for breach of
contract and other state law claims. Id. 47 149-180. As
relevant to Liberty’s motion to dismiss, the Trustee also
alleges that Liberty’s modification of the Policy amounts to a
violation of the automatic stay. Id. I1 138-148 (count I).

Liberty has moved to dismiss the charge of violation of the
automatic stay (count I) on the grounds that (1) the Policy
proceeds are not part of the “estate” for purposes of the
automatic stay, see 11 U.S.C. § 54l1(a); (2) section 362(k) of
the Bankruptcy Code provides only that “an individual” injured
by willful violation of the automatic stay may sue for damages,
not a corporation; and (3) Fiddler suffered no injuries as a
result of Liberty’s actions.

All three of Liberty’s arguments are unavailing. The First
Circuit has held that “language, authority, and reason all
indicate that proceeds of a liability insurance policy are
‘property of the estate.’” Tringali v. Hathaway Machinery Co.,
Inc., 796 F.2d 553, 560 (1st Cir. 1986) (Breyer, J.) (“The

language of § 541(a)(1) is broad enough to cover an interest in

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liability insurance, namely, the debtor’s right to have the
insurance company pay money to satisfy one kind of debt -- debts
accrued through, for example, the insured’s negligent behavior.”

Id.); see also Cruz-Aponte v. Caribbean Petroleum Corp., No. 09-

 

 

2092 (FAB), 2010 WL 11549418, *2-3 (D.P.R. Oct. 25, 2010).

It is true that Tringali involved proceeds payable only to
the debtor, whereas here the Policy’s proceeds are potentially
payable both to Fiddler and to the D&O Defendants. Cf. In re SN

Liquidation, Inc., 388 B.R. 579, 583-84 (Bankr. D. Del. 2008).

 

That does not alter the fact that the Policy is payable to
Fiddler in some circumstances, including direct coverage for
claims against Fiddler and coverage for any indemnifying
payments by Fiddler to the D&O Defendants. Liberty’s alleged
modification of the Policy therefore diminishes the estate’s
value, which implicates the automatic stay. See In re Minoco

Group of Cos., Ltd., 799 F.2d 517, 519 (9th Cir. 1986)

 

(“[Lliability policies meet the fundamental test of whether they
are ‘property of the estate’ because the debtor’s estate is
worth more with them than without them.”). Viewing the facts
alleged in the complaint most favorably to the Trustee, the
Court concludes that the Policy and its proceeds are subject to

the automatic stay.
Liberty next argues that the Trustee is not “an individual”

within the meaning of 11 U.S.C. § 362(k), and therefore she

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lacks a cause of action to enforce a violation of the automatic
stay. Although authority is split on the question whether
section 362(k) provides a cause of action for a trustee, the
Court agrees with Liberty that the words “an individual” are
best read to exclude a trustee who, while clearly a natural
person herself, acts on behalf of an estate. See In re
Morgenstern, 542 B.R. 650, 658-59 (Bankr. D.N.H. 2015) (citing
conflicting case law and agreeing with the authorities holding
that a trustee is not “an individual” under section 362(k)); 3

Collier on Bankruptcy 9 362.12[3] (Richard Levin & Henry J.

 

Sommer eds., 16th ed. 2019) (“There is little reason to adopt a
tortured reading of the statute in order to provide corporate or
partnership debtors or trustees with a remedy for stay

violations.”); cf. Spookyworld, Inc. v. Town of Berlin (In re

 

Spookyworld), 346 F.3d 1, 8 (lst Cir. 2003) (holding that
“corporations cannot sue under section 362[k] to obtain damages
for violation of the automatic stay”).

The Trustee’s exclusion from section 362(k) does not end
the matter, however, since the Court may independently punish
violations of the automatic stay under section 105. See 11
U.S.C. § 105(a) (“The court may issue any order, process, or
judgment that is necessary or appropriate to carry out the

provisions of this title.”); In re Spookyworld, 346 F.3d at 8;

 

In re Morgenstern, 542 B.R. at 659; In re Howard, 428 B.R. 335,

 

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339-40 (Bankr. W.D. Pa. 2010). Thus, the Trustee states a claim
for violation of the automatic stay even without invoking the
authority of section 362(k).

Finally, Liberty argues that the Trustee cannot prove any
damages resulting from the alleged violation of the automatic
stay. This argument fails because the Trustee has alleged
damages, Adv. Compl. @f 141-148, and the Court must accept these
allegations as true for purposes of this motion. Moreover, the
lack of damages cannot be a basis for dismissal here since the
Court is not required to order damages under section 105, see

Bessette v. Avco Fin. Servs., Inc., 230 F.3d 439, 444-45 (1st

 

 

Cir. 2000) (discussing various equitable remedies available to
the Court under section 105).

III. CONCLUSION

For the reasons given above, the Court DENIES the motions
to dismiss of the D&O Defendants, ECF Nos. 58, 59, and Liberty,

ECF No. 61.

SO ORDERED.

Sten, 4 bung
WILLIAM G. SUNG/
DISTRICT syhes
